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                     UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION

MORINVILLE, )                                       Case No. 20-cv-00980
                          )
      Plaintiff, )
                          )
      v.              )
                          )
OVERWATCH )
TECHNOLOGIES, INC. ET )
AL.,                  )
                          )
      Defendants. )



               PLAINTIFF S MOTION TO AMEND COMPLAINT

                                 EXHIBIT G




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RJ.Shannon

From:                              Clive Barrett <Clive.Barrett@fcfg.com.au>
Sent:                              Thursday, March 19, 2020 8:04 PM
To:                                Emmanuel Correia
Subject:                           Fwd: Miscellaneous
Attachments:                       Monthly Burn Rate Effective April 1, 2020).docx; ATT00001.htm; Unpaid Invoices -
                                   BioEye (15 March 2020).xlsx; ATT00002.htm; Unpaid Invoices - Overwatch (19 March
                                   2020).xlsx; ATT00003.htm




Begin forwarded message:

        From: Terry Fokas <terry.fokas@overwatchdh.com>
        Date: 20 March 2020 at 12:03:24 pm AEDT
        To: Clive Barrett <Clive.Barrett@fcfg.com.au>
        Subject: RE: Miscellaneous



        See attached monthly burn rate effective April 1, 2020 ($70,000); past due invoices for BioEye ($32,000);
        and past due invoices for Overwatch ($160,545.48)
        From: Clive Barrett <Clive.Barrett@fcfg.com.au>
        Sent: Thursday, March 19, 2020 2:40 AM
        To: Terry Fokas <terry.fokas@overwatchdh.com>
        Subject: Re: Miscellaneous
        I ve had some late afternoon conversations with shareholders and some questions arose. They're
        all reasonable given the current situation. Also, the AUD dropped significantly against the USD today.
          What pro ress are we expecting to achieve over the next 4 months?
          What's our plan if the Coronavirus crisis is not over after 4 months?
         Can you please send the budget with the $70K monthly cash burn.
         Do we have a budget with sales projections for Eympair?
        We can address everything during tomorrow's call, including the message you'll be sending to current
        shareholders for this capital raise.
        Thanks, Terry.
        I called you to discuss but I know it's pretty late there. We can talk it through tomorrow.




                On 19 Mar 2020, at 2:42 pm, Terry Fokas <terry.fokas@overwatchdh.com> wrote:



                Clive,
                I didn't anything to add to the call with Adam for obvious reasons but there are a
                few things I wanted to run by you:
                First, I've asked an Australian securities lawyer in Sydney to find out from his
                contacts at the ASX if an Application for In-Principle Advice was ever submitted
                by RNL. I'm not accusing Adam of lying to us about filing an Application back in

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      February (at this juncture) but it would make me feel a lot better of what is going
      on with our listing if I knew that something had been even filed with the ASX.
      Second, I still have my doubts about Adam s claim that third-party validation will
      suffice to obtain listing approval. That is just too vague a position. Does that
      mean that for listing approval purposes I can have a neurosurgeon friend of mine
      in Houston write something on his medical office letterhead that he's reviewed
      BioEye's internal machine learning processes and procedures and data and that
      he's satisfied that they are legitimate? Or does the validation need to be from a
      reputable (and how is reputable defined?) medical analytics firm that needs to
      undertake an extensive due diligence review and then write up a multi-page
      analysis and conclusion paper?
      Stated another way, it is inconceivable to me that the uidance from James
      Rowe to Adam for ASX listing approval was so vague that almost any third-party
      can provide something that will be sufficient for the ASX listing compliance
      group. Bureaucratic organizations like securities exchanges with anal compliance
      types simply don't operate under such amorphous parameters. I'm very
      concerned that we're going to end up throwing away $15,000 - $20,000 for a
      third-party validation that isn't sufficient or because this third-party validation
      requirement isn't real.
      Third, Adam's promise to speak to the RNL shareholders is just a promise and
      that won't keep the lights on at Overwatch. What happens if Adam doesn't come
      through? When will we know whether or not Adam will be able to raise any
      money from RNL shareholders?
      Fourth, what happens if Overwatch's existing shareholders don't invest any
      meaningful sums or don't invest anything at all? Are you and/or your network
      able and willing to come up with the amounts necessary to get funds into
      Overwatch? And speaking of funds, the amount we need to raise is actually
      $400,000: $100,000 for past due contractor and employee fees and $300,000 for
      four months of operational runway (i.e. monthly burn rate of $75,000/month for
      employees and expenses).
      Fifth, what is the timing of any funds coming into Overwatch? We are going into
      the third week of March and folks still haven't gotten paid (and this is on top of
      some folks - myself and Stephanie included - who didn't get paid for February)
      and the stress level for everyone is very high because of mortgage and rent
      obligations, childcare expenses, groceries, etc. that need to addressed by our
      employees. I'm not saying that we need to raise the entire $400,000 soon but if
      we can raise $100,000 this week to pay everyone for March and to pay a few
      contractors some of their money from February (I'll don't plan on paying myself
      and Stephanie for February until further down the road when we have raised
      significantly more money), that would be optimal. If you don't think $100,000
      this week is doable, can you please let me know?
      We can discuss all this on tomorrow's call with Manny.
      Terry
      Terry Fokas
      Chief Executive Officer
      Overwatch Digital Health, Inc.
      17440 Dallas Parkway, Suite 230
      Dallas, Texas 75287

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      Mobile (214) 449-2187




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